                                          Case 5:13-cv-04383-BLF Document 348 Filed 08/23/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     THE BOARD OF TRUSTEES OF THE                      Case No.13-cv-04383-BLF
                                         LELAND STANFORD JUNIOR
                                   8     UNIVERSITY,
                                                                                           JUDGMENT PURSUANT TO
                                                        Plaintiff,                         FEDERAL RULE OF CIVIL
                                   9
                                                                                           PROCEDURE 54(b)
                                                 v.
                                  10
                                                                                           Re: Dkt. No. 346
                                  11     CHIANG FANG CHI-YI, et al.,
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On August 22, 2022, the Court granted Plaintiff’s Motion for an Order Releasing and
                                  14   Discharging Stanford from Liability; and Restraining Each Defendant from Instituting Action
                                  15   Against Stanford for Recovery of Deposit. ECF No. 346.
                                  16          For the reasons set forth in the Court’s Order and there being no just reason for delay, the
                                  17   Court hereby ENTERS judgment pursuant to Federal Rule of Civil Procedure 54(b) in favor of
                                  18   Plaintiff and against Defendants.
                                  19          IT IS SO ORDERED.
                                  20   Dated: August 23, 2022
                                  21                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                  22                                                   United States District Judge
                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
